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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Labor Smart Inc.,                                No. CV-22-00357-PHX-JJT
10                  Plaintiff,                         ORDER
11    v.
12    Jason Tucker, et al.,
13                  Defendants.
14          Pursuant to 28 U.S.C. § 455(a), I will take no further action in the above-captioned
15   matter and will order this case to be reassigned, by random draw, to another Judge in the
16   District of Arizona. I am informed by the Clerk of the Court that Honorable Diane J.
17   Humetewa has been drawn. Accordingly,
18          IT IS ORDERED that this matter is reassigned to the Honorable Diane J.
19   Humetewa, United States District Judge. All future pleadings and papers submitted for
20   filing shall bear the following complete case number: CV-22-00357-PHX-DJH.
21          Dated this 22nd day of January, 2025.
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23                                         Honorable John J. Tuchi
                                           United States District Judge
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